(28 pages? :25-cv-00306-AKB Document3 _ Filed 06/12/25 Page 1 of 22
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FOR THE DISTRICT OF IDAHO U.S. COURTS
f y JUN 12 2025
Sash name) 0 r Q Case Ni Reva STEPHEN KENYON
Plaintiff, fo be assigned by Court) CLERK, DISTRICT OF IDAHO

PRISONER COMPLAINT

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7 Jury Trial Requested: @ Yes QO No

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Defendant(s}. ‘

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for a continuation page)

A. JURISDICTION
The United States District Court for the District of Idaho has jurisdiction over my claims under:

(check all that apply):
42 U.S.C. § 1983 (applies to state, county, or city defendants)
Bivens v. Six Unknown Named Agents of Fed. Bureau of Narcotics, 403 U.S. 388

(1971) and 28 U.S.C. § 133] (applies te federal government defendants only)
Other federal statute (spec hee a, | ZY; or diversity of citizenship.
I also ask the federal court to exercise supplemental jurisdiction over state
law claims.

B. PLAINTIFF

My name isc laShWG Ravn wr trades am a citizen of the State of tdaho.
presently residing at LAG (, culety Jai ( 4FZIO Batcr ester Or-
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PRISONER COMPLAINT - p (Rev, 10/24/2011)
Case 1:25-cv-00306-AKB Document3 Filed 06/12/25 Page 2 of 22

C. DEFENDANT(S) AND CAUSE(S) OF ACTION

(Copy and use a separate page for each defendant and each different type of claim; for example, if you have two different

claims against one defendant, yo or use me 2 pages. A ‘Be oul eg page if needed, but try to be brief.)
Cle Ue 7 Dr. DOYleG,

who was acting as

(job title, if a person; function, /if an entity)
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(state, county, city, federal governmerf, or private entity performin. a publie Sune 109)
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2. (Factual Basis of Claim) 1 am complaining that on 7c efendant did
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3. (Legal Basis of Claim) J allege that the acts aesorisCs ove my one the Cha.
Constitution, fed statutes, or state laws: CUE] ui aR u al;

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5. Iseek the following relief: | p ZL, 200,200: Back g MeCK » eed
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6. Iam suing Defendant in his/her /|personal capacity (money damages non OE nt “onli »), and/or
official capacity (seeking an order for Defendant to act or stop acting in a certain way; or money damages from an
entity because of Defendant's acts, as allowed by law), or[_] Defendant is an entity (government or private business).

7. For this claim, I exhausted the grievance system within the jail or prison in which I am incarcerated.
@ Yes ONo. If “Yes,” briefly explain the steps taken to exhaust; if “No,” briefly explain why full

jail or prison grievance remedies were not exhausted.

PRISONER COMPLAINT - p. 2_ (Rev. 10/24/2011)
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D. PREVIOUS OR PENDING LAWSUITS

[ have pursued or am now pursuing the following other lawsuits: (include (1) all lawsuits in state or federal
court related to the subject matter of this action, and (2) any federal court civil rights lawsuits, related or unrelated, and
note whether you have received a strike under 28 U.S. C. § 1915(g) for filing a complaint that is frivolous, malicious, or fails
to state a claim upon which relief can be granted.)

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E. REQUEST FOR APPOINTMENT OF ATTORNEY

Ido @- do not © __ request that an attorney be appointed to represent me in this matter. I believe that
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matter without an attorney:

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I declare under penalty of perjury: 4 5 ) ee »

that I am the plaintiff in this action, that I have read the complaint, and that the information contained in
the complaint is true and correct. 28 U.S.C. § 1746; 18 U.S.C. § 1621; and

that I deposited this complaint postage prepaid in a United States postal depository unit on

___fdate); OR that I gave the complaint to prison offipials for mailing and filing with the
Clerk of Court under the indigent inmate policy on Bil corpo OR (specify other method)

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Note: Fill in the page numbers. Keep one gopy of the complaint for yourself (or you may send a cop
of Court with your original complaint so that the Clerk can stamp the date and case number on the copy and return it to
you), but do not send extra coptes of the complaint to the Court for Defendants or otherwise. Do not attach original exhibits
to your complaint, such as your only grievance copy. Do not attach more than 25 pages of exhibits. Ifyou have more
exhibits, wait until the Court determines you can proceed and then seek leave to file them for an appropriate purpose. After
your complaint has been filed, it must be reviewed by a federal judge to determine whether you can proceed,

PRISONER COMPLAINT - p. 3_ (Rev. 10/24/2011)
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